     Case 2:14-md-02591-JWL-JPO Document 3520 Filed 03/26/18 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


IN RE SYNGENTA AG MIR 162                         §
CORN LITIGATION                                   §              No. 2:14-MD-02591-JWL-JPO
                                                  §
THIS DOCUMENT RELATES TO:                         §              MDL No. 2591
                                                  §
ALL CASES                                         §


             HOSSLEY-EMBRY PLAINTIFFS’ MOTION TO JOIN
    TOUPS/COFFMAN PLAINITIFFS’ REPLY IN RE: THEIR MOTION TO DELAY
     CONSIDERATION OF CLASS COUNSEL’S MOTION FOR PRELIMINARY
      APPROVAL OF THE PROPOSED CLASS SETTLEMENT AGREEMENT

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        The Hossley-Embry Plaintiffs respectfully move the Court to join in the Toups/Coffman

Plaintiffs’ Reply In Re: Their Motion to Delay Consideration of Class Counsel’s Motion for

Preliminary Approval of the Proposed Class Settlement Agreement. (the “Toups/Coffman

Plaintiffs’ Reply”). 1

        The Hossley-Embry Plaintiffs’ are similarly situated to the Toups/Coffman Plaintiffs’ and

the arguments set forth in the Toups/Coffman Plaintiffs’ Reply and thus apply equally to the

Hossley-Embry Plaintiffs’ and, thus, are incorporated herein by reference as if set forth in full.

        WHEREFORE, the Hossley-Embry Plaintiffs respectfully request the Court to allow the

Hossley-Embry Plaintiffs to join the Toups/Coffman Plaintiffs’ Reply In Re: Their Motion to

Delay Consideration of Class Counsel’s Motion for Preliminary Approval of the Proposed Class

Settlement Agreement including any and relief requested and set for in the Toups/Coffman

Plaintiffs’ Reply.

Date: March 26, 2018



1
 Please see Exhibit A for a listing of all Plaintiffs representative by the law firm Hossley Embry, LLP
and its co-counsel in this litigation.
   Case 2:14-md-02591-JWL-JPO Document 3520 Filed 03/26/18 Page 2 of 2




                                   Respectfully submitted,

                                    /s/ Daniel Allen Hossley
                                   D. Allen Hossley
                                   HOSSLEY – EMBRY, LLP
                                   South Dakota State Bar 3800
                                   Texas State Bar 00792591
                                   515 S. Vine Avenue
                                   Tyler, Texas 75702
                                   Telephone: 903-526-1772
                                   Facsimile: 903-526-1773
                                   allen@hossleyembry.com

                                   ATTORNEYS FOR PLAINTIFFS




                              CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the Hossley-Embry Plaintiffs’ Motion to Join
Toups/Coffman Plaintiffs’ Reply In Re: Their Motion to Delay Consideration of Class
Counsel’s Motion for Preliminary Approval of the Proposed Class Settlement Agreement was
served on all counsel of record, via the Court’s electronic filing system, on March 26, 2018.


                                    /s/ Daniel Allen Hossley
                                   D. Allen Hossley




                                             2
